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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                        Plaintiffs,


                        vs.                               Case No. 07-10142-05-JTM


 JASON L. TISDALE,
                        Defendant.




                                MEMORANDUM AND ORDER

       Presently before the court are defendant Jason Tisdale’s following motions: (1) motion

for Bill of Particulars as to aggravating factors (Dkt. No. 528); (2) motion to keep confidential

informants 1,2,3 and others separated (Dkt. No. 579); (3) motion to preclude the death penalty

due to unconstitutional discretion of prosecutors (Dkt. No. 584); and (4) motion to declare death

penalty unconstitutional because it deprives Mr. Tisdale of his fundamental right to life (Dkt.

No. 581). The court held a hearing on November 20, 2008. For the reasons detailed on the

record and summarized below, the court denies each motion.

 1. Motion for Bill of Particulars as to Aggravating Factors listed in Government’s Notice

                       of Intent to Seek the Death Penalty (Dkt. No. 528)

       Tisdale claims that a Bill of Particulars is necessary to enable him to understand and

prepare his defenses against the Government’s Notice of Intent to Seek the Death Penalty (Dkt.

No. 454) and to prevent prejudicial surprise at trial. Without citing a legal basis, Tisdale then

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lists twelve items from the government’s notice that he would like more information about. The

government responds that Tisdale’s request is nothing more than a request for discovery, which

is an improper use of a Bill of Particulars. The government argues that the Federal Death

Penalty Act sets forth the process and requirements due to capital defendants, and that the

government has more than met its burden.

       The government is not required to provide specific evidence in its notice regarding the

aggravating factors. See United States v. Battle, 173 F.3d 1343, 1347 (11th Cir. 1999); United

States v. Nguyen, 928 F. Supp. 1525, 1545-46 (D. Kan. 1996). Nonetheless, “at a minimum, due

process requires a defendant to receive sufficient notice of aggravating factors to enable him to

respond and to prepare his case in rebuttal.” United States v. Plaza, 179 F. Supp. 2d 464, 471

(E.D. Pa. 2001).

       In this case, the government’s notice of intent to seek the death penalty adequately sets

out the factors the government relied upon when deciding to seek the death penalty. As such, his

motion is denied.

    2. Motion to Keep Confidential Informants 1,2,3 as well as any other Cooperating

  Witnesses who are or may be in Custody and who are Testifying for the Government in

                          Separate Jails During Trials (Dkt. No. 579)

       Tisdale requests that the Court order the United States Marshals Service (USMS) to

house all of the government’s cooperators in jails separate from each other and Tisdale until the

conclusion of the case and all related cases. Further, Tisdale claims that his Sixth Amendment

rights are in danger of violation because he does not know the identities of the cooperating

witnesses, and thus they could be eliciting information from him.


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       The government responds that it is undertaking every practical measure to keep the

witnesses separate from Tisdale and each other. Further, the government argues that the Tisdale

fails to cite authority for his implicit assertion that the Court should direct the day-to-day

functions of the USMS.

       Tisdale’s request is denied. He fails to cite authority to support his position, and the

government has an interest to keep the confidential witnesses away from Tisdale and each other.

Further, Tisdale’s fear that cooperators might try to get information from him is without merit

because this court already issued an order precluding the government from introducing “snitch”

testimony. However, this court will enter a sequestration order at trial, which should prevent any

discussions from testifying witnesses.

 3. Motion to Declare the Death Penalty Unconstitutional Because it Deprives Mr. Tisdale

                        of his Fundamental Right to Life (Dkt. No. 581)

       Tisdale argues that substantive due process protects the right to life as a fundamental

constitutional right, and that the death penalty is not necessary to promote any compelling state

interest. Further, he claims that the Federal Death Penalty Act (FDPA) is per se

unconstitutional, and that the government cannot justify it under strict scrutiny analysis. In sum,

he seeks an order declaring the federal death penalty unconstitutional pursuant to the Fifth,

Sixth, Eighth, and Fourteenth Amendments.

       Specifically, Tisdale argues that there is a fundamental right to life, and that substantive

due process protects that right. He then argues that laws are presumptively unconstitutional if it

impinges on a fundamental right. As such, he claims that the government must survive strict

scrutiny to withstand a constitutional challenge of the federal death penalty.


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       The government counters that although the Due Process Clause provides heightened

protection against government interference with certain fundamental rights and liberty interests,

the standards from criminal law differ from other areas. Specifically, the government contends

that the Supreme Court has established that a criminal procedure does not violate due process

unless it offends some principle of justice so rooted in the traditions and consciousness of our

people as to be ranked as fundamental. In that regard, the government argues that the FDPA

does not offend any fundamental principle of justice because capital punishment is firmly rooted

in the principles and traditions of the American criminal justice system, and the Supreme Court

has repeatedly upheld state and federal statutes providing for capital punishment. Further, the

government argues that the Supreme Court has specifically refused to require strict scrutiny

analysis for criminal processes. See Chapman v. United States, 500 U.S. 453, 465 (1991).

       Tisdale’s motion is denied. Tisdale cites only civil cases in which strict scrutiny was

applicable, and fails to explain the Supreme Court cases which have specifically refused to

require strict scrutiny analysis of criminal processes. See, e.g., Chapman v. United States, 500

U.S. 453, 465 (1991) (holding that the sentencing scheme of the Anti-Drug Abuse Act of 1986

was rational and noting that “we have never subjected criminal process to this sort of truncated

analysis, and we decline to do so now”). Further, the United States Supreme Court has

repeatedly upheld the constitutionality of the death penalty, and this court is bound to follow that

precedent.




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       4. Motion to Preclude the Death Penalty Due to Unconstitutional Discretion of

       Prosecutors in Deciding Whether to Seek a Death Sentence (Dkt. No. 584)

       Tisdale argues that the federal death penalty scheme violates the Fifth, Eighth, and

Fourteenth Amendments because it fails to establish nationwide standards which ensure that

prosecutorial decisions to seek the death penalty are uniform and do not result in disparate

treatment of similarly situated persons. Tisdale relies heavily on Bush v. Gore, to argue that

uniform standards must be used throughout the nation and that discretion must be controlled.

Essentially, Tisdale argues that Bush v. Gore provides a basis for finding that the FDPA

constitutes an unconstitutional violation of equal protection because it does not provide for

nationwide standards to guide federal prosecutors in charging capital cases.

       The government responds that the Supreme Court expressly limited the application of its

ruling in Bush v. Gore, and that other federal courts have routinely rejected claims that it created

a new and more liberal standard of review for equal protection claims. Further, the government

claims that the FDPA provides national standards to govern prosecutorial discretion. The

government also argues that Tisdale has failed to show an equal protection violation, because he

cannot demonstrate a discriminatory purpose nor a discriminatory effect sufficient to violate the

Fifth Amendment.

       At its core, Tisdale’s argument is that the prosecutorial discretion in seeking the death

penalty is unconstitutional. This argument has been rejected repeatedly, due in part to the fact

that the statutory schemes sets out a number of factors that provide when someone may be

eligible for the death penalty. Congress has enacted statutes that provide for the death penalty

and the procedures that must be followed for prosecutors to seek it. Further, as with the


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argument above, the Supreme Court has repeatedly upheld the constitutionality of the death

penalty, and this court is bound to follow that precedent. As such, Tisdale’s motion is denied.



       IT IS ACCORDINGLY ORDERED this 8th day of December, 2008 that Defendant Jason

Tisdale’s motion for Bill of Particulars as to aggravating factors (Dkt. No. 528), motion to keep

confidential informants 1,2,3 and others separated (Dkt. No. 579), motion to preclude the death

penalty due to unconstitutional discretion of prosecutors (Dkt. No. 584); and motion to declare

death penalty unconstitutional because it deprives Mr. Tisdale of his fundamental right to life

(Dkt. No. 581) are denied.


                                                      s/ J. Thomas Marten
                                                     J. THOMAS MARTEN, JUDGE




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